        Case 1:22-cr-00354-RCL Document 70 Filed 10/13/23 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                                          Criminal No.: 1: 22-cr-00354-RCL-1 and 2

-v-                                       DEFENDANT CONSENT TO APPEAR
                                          BY VIDEO CONFERENCE
RICHARD SLAUGHTER, and
CADEN GOTTFRIED,

                   Defendants.


      Defendants Slaughter and Gottfried, by and through undersigned counsel, hereby

consents and move to proceed via Zoom video conference for the Arraignment and Status

Conference set for October 18th at 12:30pm. This consent is provided freely and

voluntarily and no threats or promises have been made to compel Defendant’s consent.

Counsel has conferred with United States and they do not object to this motion.

Dated: October 11, 2023




                                            Respectfully Submitted,

                                                                     /s/ John M. Pierce
                                                                         John M. Pierce
                                                                   21550 Oxnard Street
                                                                  3rd Floor, PMB #172
                                                              Woodland Hills, CA 91367
                                                                   Tel: (213) 400-0725
          Case 1:22-cr-00354-RCL Document 70 Filed 10/13/23 Page 2 of 2




                                                                     Email: jpierce@johnpiercelaw.com

                                                                                    Attorney for Defendants




                                   CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, October 11, 2023, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.



                                                /s/ John M. Pierce
                                                John M. Pierce
